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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                            Criminal No.: 05-97 (MJD/JGL)


UNITED STATES OF AMERICA,

             Plaintiff,

v.                                                                                ORDER

(2) KAREN PETERSON,

             Defendant.


             Defendant Peterson has filed a waiver of speedy trial in this case due to

plea negotiations. Therefore, the Court will grant a continuance of the trial date.

             Based on all the files, records and proceedings herein, IT IS HEREBY

ORDERED, that:

             1.      Defendant Peterson waiver of speedy trial [docket # 41] is

GRANTED;

             2.      The time between June 27, 2005, and October 14, 2005, shall be

excluded in computing the time within which the trial in this matter must commence

under the Speedy Trial Act pursuant to Title 18, United States Code, Section

3161(h)(8)(A). The ends of justice will be served by continuing the trial date. This

finding is based upon the Court’s conclusion that the failure to grant such a

continuance would unreasonably deny the parties a right to a fair and just hearing.

Dated: August 10, 2005

                                         s/ Michael J. Davis
                                         MICHAEL J. DAVIS
                                         United States District Court Judge
